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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION


   EVANSVILLE GREENWAY AND             )
   REMEDIATION TRUST, a Qualified      )
   Settlement Fund,                    )
                                       )
              Plaintiff,               )
                                       )
         vs.                           )              3:07-cv-66-SEB-WGH
                                       )
   SOUTHERN INDIANA GAS AND            )
   ELECTRIC COMPANY, INC., et al.,     )
                                       )
              Defendants,              )
   ___________________________________ )
                                       )
   EVANSVILLE GREENWAY PRP             )
   GROUP,                              )
                                       )
              Third-Party Plaintiff,   )
                                       )
         vs.                           )
                                       )
   GENERAL WASTE PRODUCTS, et al.,     )
                                       )
              Third-Party Defendants.  )
   ___________________________________ )


         ORDER GRANTING JOINT MOTION TO APPROVE SETTLEMENT
                            [Docket No. 888]

         This cause is before the Court on the Joint Motion to Approve Settlement [Docket

   No. 888], filed on August 31, 2010, by Plaintiff Evansville Greenway and Remediation

   Trust (“Trust”); Defendants Southern Indiana Gas & Electric Company (“SIGECO”),


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   Heritage Coal Company, LLC (“Heritage”), Squaw Creek Coal Company (“Squaw

   Creek”), Black Beauty Coal Company, LLC (“Black Beauty”), Mead Johnson Company

   (“Mead Johnson”), and Mulzer Crushed Stone (“Mulzer”); Third-Party Plaintiff,

   Evansville Greenway PRP Group (“the PRP Group”); and Third-Party Defendants Allan

   Trockman and General Waste Products (“GWP”) (collectively “the Settling Parties”). No

   substantive objections to this motion have been filed.1 For the reasons detailed below, we

   GRANT the Joint Motion to Approve Settlement.

                                           Legal Analysis

   I.     Standard of Review

          Under well-established law, in deciding whether to approve a proposed settlement

   in the CERCLA context, the court must apply the following three factors: (1) whether the

   proposed decree is fair; (2) whether the settlement is reasonable; and (3) whether the

   proposed decree is consistent with and faithful to the objectives of the statute.2 United

   States v. CBS Corp., 2009 WL 2230889, at *7 (S.D. Ind. 2009) (Young, J.); see also

   United States v. SCA Servs. of Ind., Inc., 827 F. Supp. 526, 532 (N.D. Ind. 1993) (citing

   United States v. Cannons Engineering Corp., 899 F.2d 79, 84 (1st Cir. 1990)). The



          1
            Third-Party Defendant, Solar Sources, Inc., filed a response to the instant motion
   [Docket No. 892], but did not object to the settlement, merely alerted the Court to the motions
   and issues that remain to be addressed in this litigation.
          2
            Although these standards are typically applied to approval of CERCLA consent decrees
   that have been entered into between the government and private parties, courts also apply these
   same principles to the approval of settlements involving CERCLA claims between private
   parties. See, e.g., United States v. SCA Servs. Ind., Inc., 827 F. Supp. 526 (N.D. Ind. 1993).

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   approval of settlements in the CERCLA context is “committed to the trial court’s

   informed discretion.” 827 F. Supp. at 532 (quoting 899 F.2d at 84). “It is not the court’s

   function to determine whether the proposal is the best possible settlement that could have

   been obtained or one which the court itself might have fashioned, but rather ‘whether the

   settlement is within the reaches of the public interest.’” 827 F. Supp. at 533 (quoting 899

   F.2d at 84).

   II.    Discussion

          A.      Fairness

          Fairness in the CERCLA context has both procedural and substantive components.

   See Cannons Eng’g, 899 F.2d at 86. “To measure procedural fairness, a court should

   ordinarily look to the negotiation process and attempt to gauge its candor, openness, and

   bargaining balance.” Id. (citations omitted). Substantive fairness requires that the

   settlement terms “be based upon, and roughly correlated with, some acceptable measure

   of comparative fault, apportioning liability among the settling parties according to

   rational (if necessarily imprecise) estimates of how much harm each PRP has done.” Id.

   at 87. The court will uphold the terms of a settlement so long as “the measure of

   comparative fault on which the settlement terms are based is not arbitrary, capricious, and

   devoid of a rational basis.” In re Tutu Water Wells CERCLA Litigation, 326 F.3d 201,

   207 (3d Cir. 2003).

                  1.     Procedural Fairness

          We find the negotiated Settlement Agreement and Stipulation (“the Agreement”)

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   to be procedurally fair in that it was entered into in good faith and is the product of

   extensive arms-length negotiations. This conclusion is further supported by the fact that

   the Magistrate Judge has often been involved in these and other parties’ settlement

   discussions throughout this litigation. In addition, the Settling Parties were aided by a

   local mediator in reaching the Agreement.

                 2.     Substantive Fairness

          The court also finds the Agreement to be substantively fair. As we have noted in

   our previous orders approving negotiated settlements in the case at bar, the historical

   record before us is in some respects unclear and incomplete due in part to the extended

   time period – spanning approximately forty years – during which hazardous materials

   were deposited at the Main Yard and the River Yard (“the Properties”) and exacerbated

   by the fact that many of the business records kept at the Properties that could have been

   helpful in reaching a more exact determination of each potentially responsible party’s

   (“PRP”) contribution to the contamination were destroyed before the initiation of this

   litigation. These circumstances make it difficult for the Court to complete a detailed

   comparative fault analysis. See United States v. Charles George Trucking, Inc., 34 F.3d

   1081, 1086 (1st Cir. 1994) (“A lack of reliable records renders it impossible, as a practical

   matter, for a court to make reasoned findings concerning the relative contributions of

   particular generators or transporters to the aggregate harm.”).

          However, the documentation that has been produced regarding the relative liability

   of each PRP, including the business records and witness testimony that are available,

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   supports a finding that the Agreement reflects a rational apportionment of liability. The

   settling PRP’s are those that have been identified as allegedly having been some of the

   main contributors of hazardous materials to the Properties, and, based on the Trust’s total

   claimed damages, which initially exceeded $11 million including attorneys’ fees, each

   settling PRP is paying a significant portion of the total claim pursuant to the terms of the

   Agreement. Based on the information available to the Court, those amounts appear to be

   proportional to the harm allegedly caused by the parties. In reaching this determination,

   we have also taken into account other considerations such as the risks of litigation and the

   value of early settlement, as well as the mounting transactional costs associated with this

   cause of action. See, e.g., United States v. Davis, 261 F.3d 1, 26 (1st Cir. 2001)

   (“Discounts on maximum potential liability as an incentive to settle are considered fair

   and reasonable under Congress’s statutory scheme” and it “is appropriate to factor into

   the equation any reasonable discounts for litigation risks, time savings, and the like that

   may be justified.”) (citations omitted).

          Our conclusion is buttressed by the fact that the Agreement was reached only after

   a lengthy and often contentious negotiation process. Many of the Settling Parties were

   fairly intimately involved with the Properties for nearly ten years and, as a result, are in

   the best position to be equipped to determine what a fair allocation of the costs should be.

   See Charles George Trucking, 34 F.3d at 1088 (“Sophisticated actors know how to

   protect their own interests, and they are well equipped to evaluate risks and rewards.”).

   The fact that the Settling Parties reached agreement after such an initially vehement

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   dispute only cements our decision regarding the fairness of the allocation. For these

   reasons, remaining mindful of CERCLA’s stated preference for settlements, we conclude

   that the Agreement reflects a rational apportionment of liability and is neither arbitrary

   nor capricious. See Tutu, 326 F.3d at 207. Accordingly, we find that the Agreement is

   substantively fair.

          B.     Reasonableness

          In evaluating the reasonableness of a settlement, courts look to various factors

   including the settlement’s “likely efficaciousness as a vehicle for cleansing the

   environment; the extent to which it satisfactorily compensates the public for actual and

   anticipated costs of remedial and response measures; and the relative strength of the

   parties’ litigating positions.” United States v. Fort James Operating Co., 313 F. Supp. 2d

   902, 910 (E.D. Wis. 2004) (citing Cannons Eng’g, 899 F.2d at 89-90). Courts also

   consider the foreseeable litigation risks and transaction costs associated with litigation

   when determining whether a settlement is reasonable. Id. at 90.

          Thus considered, we find that the Agreement is reasonable and in the public

   interest. The settlement is clearly in the public interest because the funds the Settling

   Parties have agreed to pay will be material in helping to effectuate a more timely

   restoration of the River Yard and/or reimbursement for remediation costs at the Main

   Yard and appear to be proportional to the harm allegedly caused by the parties. Although

   the settlement funds will not cover the total amount of the projected cost of remediation

   of the Properties, they will cover a substantial percentage of the currently anticipated

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   costs.

            Moreover, as discussed above, mounting transaction costs associated with

   protracted litigation will be avoided by this settlement, thereby preserving those resources

   for use in investigating and remediating the contaminated sites. In addition to these cost

   savings, we have also factored into the equation the time savings afforded by this

   settlement, which will allow remediation of the River Yard to proceed in a much more

   efficient manner and will result in a more timely restoration of the site. See Cannons

   Eng’g, 899 F.2d at 80 (“To the extent that time is of the essence or that transaction costs

   loom large, a settlement which nets less than full recovery of cleanup costs is nonetheless

   reasonable.”). Finally, the fact that the Trust (which completed the Main Yard

   remediation and is responsible for completing the River Yard remediation), Defendants,

   Third-Party Plaintiff, and the settling Third-Party Defendants are all in agreement on the

   settlement terms despite extremely contentious disagreement throughout all stages of this

   lawsuit further supports our reasonableness determination. For these reasons, we find that

   the Settlement Agreement meets the reasonableness requirement.

            C.     Fidelity to CERCLA

            The final criterion on which to judge a settlement decree is the extent to which it is

   consistent with CERCLA. The two main purposes of CERCLA are: (1) to “abate and

   control the vast problems associated with abandoned and inactive hazardous waste

   disposal sites;” and (2) to “shift the costs of cleanup to the parties responsible for the

   contamination.” Metro. Water Reclamation Dist. v. North Am. Galvanizing & Coatings,

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   Inc., 473 F.3d 824, 827 (7th Cir. 2007); see also Charles George Trucking, 34 F.3d at

   1086 (“Among the overarching goals of CERCLA . . . are accountability, the desirability

   of an unsullied environment, and promptness of response activities.” (internal quotations

   omitted). CERCLA settlements also allow resources to be put toward cleanup, rather

   than litigation expenses and transaction costs. See United States v. DiBiase, 45 F.3d 541,

   546 (1st Cir. 1995) (“Such settlements reduce excessive litigation expenses and

   transaction costs, thereby preserving scarce resources for CERCLA’s real goal: the

   expeditious cleanup of hazardous waste sites.”).

          This settlement is clearly in line with CERCLA’s purposes as the funds collected

   by the Trust from the Settling Parties will be used to meet the express purposes of the

   Trust, including the investigation and remediation of contamination at the Properties.

   Moreover, as noted above, the Settlement Agreement has significantly reduced excessive

   litigation expenses and transaction costs by eliminating continued litigation between the

   Settling Parties, thereby preserving those funds to be used in a manner that furthers the

   goals of CERCLA.

   III.   Conclusion

          For the reasons detailed in this entry, we find the proposed Settlement Agreement

   and Stipulation to be fair, reasonable, and consistent with the objectives of CERCLA.

   Accordingly, we GRANT the Joint Motion to Approve Settlement. We note that there

   has been no settlement of the Third-Party Amended Complaint against Third-Party

   Defendant Solar Sources, Inc., and Solar Source’s Amended Answer and Counterclaim.

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   Thus, still pending and unaffected by this Settlement Agreement is Solar Source’s Motion

   for Summary Judgment [Docket No. 668].

          IT IS THEREFORE ADJUDGED, DECREED, AND ORDERED that:

   (1)    The Settlement Agreement and Stipulation entered by the Settling Parties is
          approved.

   (2)    The Settlement Agreement and Stipulation should be maintained in the Court’s file
          under seal.

   (3)    All claims asserted by or against the Settling Parties or deemed asserted by or
          against the Settling Parties in this Court’s November 5, 2008 Order [Docket No.
          262] in this matter are dismissed with prejudice, with the sole exception of the
          Third-Party Complaint filed by the PRP Group against Third-Party Defendant
          Solar Sources, Inc., and Solar Source’s counterclaims.

   (4)    The Settlement Agreement and Stipulation represents a good faith settlement under
          the governing contribution protection rules contained within CERCLA Section
          113(f)(2), 42 U.S.C. § 9613(f)(2), and pursuant to all other applicable federal,
          state, and common law. The Settling Parties are therefore entitled to full and
          complete protection from any claims that have been asserted, could have been
          asserted, have been deemed asserted or may in the future relating to the matters
          released in the Settlement Agreement and Stipulation, including all claims,
          counterclaims, cross-claims, and third-party claims by any party, any non-settling
          party or other non-parties seeking contribution at any time in any form.3



          3
              In order to encourage settlements and provide PRPs a measure of finality in return for
   their willingness to settle, CERCLA expressly provides contribution protection for parties who
   settle with the United States or any state. 42 U.S.C. § 9613(f)(2) (“A person who has resolved
   its liability to the United States or a state in an administrative or judicially approved settlement
   shall not be liable for claims for contribution regarding matters addressed in the settlement.”);
   see also Cannons Eng’g, 899 F.2d at 92. While CERCLA is silent as to whether such
   contribution protection applies to private party settlements, a number of courts addressing the
   issue have held that such protection should also be granted to settling parties in private party
   CERCLA actions in order to promote settlement. See, e.g., SCA Services, 827 F. Supp. at 532;
   Allied Corp. v. Acme Solvent Reclaiming, Inc., 771 F. Supp. 219, 222 (N.D. Ill. 1990); Edward
   Hines Lumber Co. v. Vulcan Materials, 1987 WL 27368, at *5 (N.D. Ill. Dec. 4, 1987). We see
   no reason to depart from the reasoning set forth in these opinions.

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    (5)   In accordance with Federal Rule of Civil Procedure 54(b), there is no just reason
          for delay and this Order therefore constitutes a final, appealable judgment as to the
          claims resolved herein.

    (6)   In light of this ruling, the following pending motions are DENIED AS MOOT:

          A.     Motion for Summary Judgment on the PRP Group’s ELA Claims [Docket
                 No. 663];

          B.     Motion for Summary Judgment on Certain Response Costs [Docket No.
                 665];

          C.     Motion for Partial Summary Judgment on Defendant’s Liability [Docket
                 No. 675];

          D.     Motion for Summary Judgment on SIGECO’s Joint and Several Liability
                 [Docket No. 676];

          E.     Motion to Exclude Chris Wittenbrink [Docket No. 762];

          F.     Motion to Exclude Portions of Testimony of John Weaver [Docket No.
                 776];

          G.     Motion to Strike the Supplemental Rebuttal Report of Marcia Williams
                 [Docket No. 790];

          H.     Motion to Strike Plaintiff’s Reply [Docket No. 792];

          I.     Motion to Strike Expert Report of Dr. Lowenbach [Docket No. 793];

          J.     Motion to Exclude the Testimony of Joseph Egan (filed by the Trust)
                 [Docket No. 803];

          K.     Motion to Exclude Certain Testimony of Joseph Egan (filed by the PRP
                 Group) [Docket No 805];

          L.     Motion to Exclude Testimony of Steven Peters [Docket No. 807];

          M.     Motion to Exclude Testimony of Wiley Wright [Docket No. 809];

          N.     Motion to Exclude Testimony of Mark Ewen [Docket No. 812];

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          O.   Motion to Exclude Testimony of A.J. Gravel [Docket No. 813];

          P.   Motion to Exclude Testimony of Richard White [Docket No. 817]; and

          Q.   Motion to Exclude Testimony of Marcia Williams [Docket No. 818].

          IT IS SO ORDERED.



                09/20/2010
    Date: ______________________________                _______________________________
                                                         SARAH EVANS BARKER, JUDGE
                                                         United States District Court
                                                         Southern District of Indiana




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